Case 1:14-cv-01589-TWP-DLP Document 2-1 Filed 12/04/13 Page 1 of 1 PagelD #: 16

AQ 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

RED BARN MOTORS, INC.,
DONALD B. RICHARDSON, AND
BARBARA A. RICHARDSON,

Plaintiff(s)
¥.

NEXTGEAR CAPITAL, ING., as successor-in-inlerest
to DEALER SERVICES CORPORATION, and
LOUISIANA'S FIRST CHOICE AUTO AUCTION,
L.L.G.

Civil Action No,

Sms ner Seeger Samet! Somer! Nnmeetl Ttreet! Mig Semel See Sat

Defendants)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) LOUISIANA'S FIRST CHOICE AUTO AUCTION, L.L.C.
18310 Woodscale Road
Tangipahoa, Louislana 70401

A lawsuit has been filed apainst you.

Within 21 days after service of this summons on you (not counting the day you received it} —~ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Cassie E. Felder
Cassie Felder & Associates, LLC,

263 Grd Street, Suite 308
Baton Rouge, Loulsiana 70804

If you fail to respond, judgment by default will be entered against you for the relicf demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
